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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHAEL SAMS, Case No.:
Plaintiff, Complaint For:
Vs. (1) Violation of § 14 (a) of the Securities
TEEKAY LNG PARTNERS L.P., (2) Tana e . me of the Securities
TEEKAY GP L.L.C., KENNETH HVID, Exchange Act of 1934

C. SEAN DAY, ALAN SEMPLE, DAVID
SCHELLENBERG, RICHARD D.

PATERSON, and SYLVIA BARNES, JURY TRIAL DEMANDED

 

Defendants.

Plaintiff, Michael Sams (‘Plaintiff’), by and through his attorneys, alleges upon
information and belief, except for those allegations that pertain to him, which are alleged upon
personal knowledge, as follows:

SUMMARY OF THE ACTION

1. Plaintiff brings this unitholder action against Teekay LNG Partners L.P. (“Teekay
LNG” or the “Partnership”), the Partnership’s general partner Teekay GP L.L.C (“Teekay GP”)
and the Board of Directors of Teekay GP (the “Board” or the “Individual Defendants,” and
collectively with the Partnership and Teekay GP, the “Defendants”), for violations of Sections
14(a) and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a result of

Defendants’ efforts to sell the Partnership to Stonepeak Infrastructure Fund IV Cayman (AIV III)
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LP (“Parent” or “Stonepeak”) as a result of an unfair process, and to enjoin an upcoming unitholder
vote on a proposed all cash transaction (the “Proposed Transaction’).

a The terms of the Proposed Transaction were memorialized in an October 12, 2021,
filing with the Securities and Exchange Commission (“SEC”) on Form 6-K attaching the definitive
Agreement and Plan of Merger (the “Partnership Agreement”). Under the terms of the Partnership
Agreement, Stonepeak will acquire all the outstanding units of Teekay LNG common units for
$17.00 per unit in cash. As a result, Teekay LNG will become an indirect wholly-owned subsidiary
of Stonepeak.

3. Thereafter, on November 2, 2021, Teekay LNG filed a Proxy Statement on Form

6-J attaching the proxy statement (the “Proxy Statement”) with the SEC in support of the Proposed
Transaction.

4. The Proposed Transaction is unfair for a number of reasons. Significantly, the
Proxy Statement reveals that the sales process was largely controlled and dominated by the
controlling unitholder of the partnership, Teekay Corporation. In fact, the Proxy Statement reveals
that the sales process itself was initiated by Teekay Corporation itself seeking to sell its majority
stake in the Partnership.

a Furthermore, it appears as though the Board has entered into the Proposed
Transaction to procure for itself and senior management of the Partnership significant and
immediate benefits with no thought to Plaintiff, as well as the Partnership’s public unitholders.
For instance, pursuant to the terms of the Merger Agreement, upon the consummation of the
Proposed Transaction, Partnership Board Members and executive officers will be able to exchange
all Partnership equity awards for the merger consideration.

6. In violation of the Exchange Act, Defendants caused to be filed the materially
deficient Proxy Statement on November 2, 2021 with the SEC in an effort to Plaintiff, to vote in

favor of the Proposed Transaction. The Proxy Statement is materially deficient, deprives Plaintiff
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of the information necessary to make an intelligent, informed and rational decision of whether to
vote in favor of the Proposed Transaction, and is thus in violation of the Exchange Act. As detailed
below, the Proxy Statement omits and/or misrepresents material information concerning, among
other things: (a) the sales process and in particular certain conflicts of interest for management;
(b) the financial projections for Teekay LNG, provided by Teekay LNG to the Conflicts
Committee of the Board’s financial advisor Houlihan Lokey Capital, Inc. (“Houlihan Lokey”) and
the full Board’s financial advisor Morgan Stanley & Co. LLC (“Morgan Stanley”); and (c) the data
and inputs underlying the financial valuation analyses, if any, that purport to support the fairness
opinions created by Houlihan Lokey and Morgan Stanley, if any, and provide to the Partnership
and the Board.

7. Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

PARTIES
8. Plaintiff is a citizen of Tennessee and, at all times relevant hereto, has been a
Teekay LNG unitholder.
9. Defendant Teekay LNG provides marine transportation services focusing on

liquefied natural gas (LNG) and liquefied petroleum gas (LPG) worldwide. Teekay LNG is
incorporated in the Republic of The Marshall Islands and has its principal place of business at
4th Floor, Belvedere Building, 69 Pitts Bay Road, Hamilton, HM 08, Bermuda. Shares of Teekay
LNG common units are traded on the NYSE under the symbol “TPG”.

10. Defendant Kenneth Hvid (“Hvid”) has been a Director of the Partnership al all
relevant times. In addition, Hvid serves as the Chairman of the Teekay GP Board.

11. Defendant C. Sean Day (“Day”) has been a director of Teekay GP at all relevant

times.
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12. Defendant Alan Semple (“Semple”) has been a director of Teekay GP at all
relevant times.

13. Defendant David Schellenberg (“Schellenberg”) has been a director of Teekay
GP at all relevant times.

14. Defendant Richard D. Paterson (“Paterson”) has been a director of Teekay GP
at all relevant times.

15. Defendant Sylvia Barnes (“Barnes”) has been a director of Teekay GP at all
relevant times.

16. Defendants identified in §{ 10 - 16 are collectively referred to as the “Individual
Defendants.”

17. Defendant Teekay GP is the Partnership’s sole General Partner. Teekay GP is a
limited liability company organized under the laws of the Republic of the Marshall Islands and is
a wholly-owned indirect subsidiary of Teekay Corporation. The Board of Teekay GP serves as
the Board for the Partnership.

18. | Non-Party Teekay Corporation is a portfolio manager of marine services to the
global oil and natural gas industries, to expand its operations in the LNG shipping sector. Teekay
Corporation is incorporated under the laws of Bermuda and with principal offices at
4th Floor, Belvedere Building, 69 Pitts Bay Road, Hamilton,HM 08, Bermuda. Teekay
Corporation controls and is the parent of Teekay GP and owns approximately 41% of the
outstanding common units of the Partnership.

19. Non-Party Stonepeak is a leading alternative investment firm specializing in
infrastructure and real assets with approximately $39 billion of assets under management.
Stonepeak is a Cayman Islands exempted limited partnership and has its headquarters in New
York, NY.

JURISDICTION AND VENUE
20. This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges
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violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to
confer jurisdiction on a court of the United States, which it would not otherwise have. The Court
has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

21. Personal jurisdiction exists over each defendant either because the defendant
conducts business in or maintains operations in this District, or is an individual who is either
present in this District for jurisdictional purposes or has sufficient minimum contacts with this
District as to render the exercise of jurisdiction over defendant by this Court permissible under
traditional notions of fair play and substantial justice.

22. Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the
Individual Defendants, as Partnership officers or directors, have extensive contacts within this
District; for example, the Partnership’s units trade on the NYSE which is headquartered in this
District.

SUBSTANTIVE ALLEGATIONS
Partnership Background

23. | Teekay LNG is one of the world’s largest independent owners and operators of
LNG carriers, providing LNG and LPG services primarily under long-term, fee-based charter
contracts through its interests in 47 LNG carriers, 21 mid-size LPG carriers, and seven multi-
gas carriers. Teekay LNG’s ownership interests in these vessels range from 20 to 100 percent. In
addition, Teekay LNG owns a 30 percent interest in an LNG regasification terminal. Teekay LNG
is a publicly traded master limited partnership formed by Teekay Corporation (NYSE: TK) as part
of its strategy to expand its operations in the LNG and LPG shipping sectors. Teekay LNG was
incorporated in 2004 and is based in Hamilton, Bermuda.

24. The Partnership’s most recent financial performance press release, revealing
financial results from the quarter preceding the announcement of the Proposed Transaction,
indicated impressive financial success. For example, in the August 5, 2021 press release

announcing its 2022 Q2 financial results, the Partnership highlighted Adjusted net
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income attributable to the partners and preferred unitholders of $57.0 million, and Total adjusted
EBITDA of $183.5 million in the second quarter of 2021.

25. Speaking on the positive results, CEO of Teekay Gas Group Ltd. said, “‘Teekay
LNG reported another quarter of strong results today, with second quarter of 2021 adjusted net
income of $0.57 per common unit and over $183.5 million of total adjusted EBITDA: As expected,
our results in the second quarter reflect a heavier than normal drydock schedule. Looking ahead,
our third quarter 2021 results are also expected to be impacted by a heavy drydock schedule;
however, for the fourth quarter of 2021, we are expecting a bounce back as a result of a
substantially reduced number of drydock days across the fleet. The spot and term charter market
for LNG carriers has been counter-seasonally strong over the past six months, and LNG supply
and demand fundamentals are pointing to continued strength through the rest of 2021 and into
2022. This should benefit the Creole Spirit, which is on a market-linked contract until mid-
February 2022. We believe this market strength could also be a tailwind for Teekay LNG next year
as we have a few LNG carriers expected to roll-off of their current contracts during the first half
of next year. We do, however, continue to have nearly all of our 2021 and the vast majority of our
2022 revenue days already secured on fixed-rate charters and generating consistent cash flow.’”

26. The sustained financial success and impressive results are not an anomaly, but
rather, are indicative of a trend of continued future potential success by Teekay LNG. Clearly,
based upon the positive outlook, the Partnership is likely to have tremendous future success.

27. Despite this upward trajectory, the Individual Defendants have caused Teekay LNG
to enter into the Proposed Transaction without providing requisite information to Teekay LNG

unitholders such as Plaintiff.
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The Flawed Sales Process

28. As detailed in the Proxy Statement, the process deployed by the Individual
Defendants was flawed and inadequate, was conducted out of the self-interest of the
Individual Defendants and was designed with only one concern in mind — to effectuate a
sale of the Partnership by any means possible no matter the price.

29. Notably, the Proxy Statement reveals that the entire sales process was
initiated by Teekay Corporation’s desire to sell its stake in the Partnership. In fact, Teekay
Corporation ran a parallel “Stake Sale” sales process attempting to sell its share of the
Partnership which involved the engagement of a financial advisor and a market outreach
to nineteen potentially interested counterparties. It was only after the initiation of the Stake
Sale did Teekay Corporation reach out to the Teekay GP Board to discuss the amenability
of the latter to a sale of the entire Partnership. Notably, the Proxy statement does not
provide any information whatsoever that the Teekay GP Board, at any point prior to the
actions taken by Teekay Corporation, had considered a sale of the Partnership, nor does it
provide adequate information regarding the influence Teekay Corporation, its Officers, or
its board, had on Teekay GP Board’s decision to seek a sale of the entire Partnership, which
could have only benefited the position of Teekay Corporation.

30. Of significant note, Teekay Corporation’s engaged financial advisor was
none other than Morgan Stanley, whom would later terminate its engagement with Teekay
Corporation to become the Board’s financial advisor, further evidencing the improper
influence of Teekay Corporation over the entire sales process.

31. In addition, the Proxy Statement is silent as to the nature of the
confidentiality agreements entered into between the Partnership and potentially interested
third parties, including Stonepeak, throughout the sales process, if any, and whether these
agreements differ from each other, and if so in what way. The Proxy Statement also fails
to disclose all specific conditions under which any standstill provision contained in any

entered confidentiality agreement entered into between the Partnership and any potentially
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interested third parties, including Stonepeak, throughout the sales process, if any, would

fall away.

32.

It is not surprising, given this background to the overall sales process, that it was

conducted in a completely inappropriate and misleading manner.

The Proposed Transaction

33.

On October 4, 2021, Teekay LNG and Stonepeak issued a joint press release

announcing the Proposed Transaction. The press release stated, in relevant part:

Hamilton, Bermuda and New York, USA, October 4, 2021 — Teekay LNG
Partners L.P. (Teekay LNG) (NYSE:TGP) and Stonepeak, a leading alternative
investment firm specializing in infrastructure and real assets, today announced that
they have entered into an agreement and plan of merger (the Merger Agreement).
Under the Merger Agreement, investment vehicles managed by Stonepeak will
acquire (a) all the issued and outstanding common units representing limited partner
units in Teekay LNG, including approximately 36.0 million common units owned
by Teekay Corporation (Teekay) (NYSE:TK), and (b) 100 percent of Teekay’s
ownership in Teekay LNG’s general partner, Teekay GP L.L.C. (Teekay GP),
which includes an economic ownership interest equivalent to approximately 1.6
million Teekay LNG common units, for $17.00 per common unit or common unit
equivalent in cash (collectively, the Transaction), representing an enterprise value
of $6.2 billion, including consolidated and proportionate joint venture net debt, and
$1.5 billion in common unit equity value. The $17.00 per unit acquisition price
represents a premium of 8.3 percent to the closing price of Teekay LNG’s common
units on October 1, 2021 and premiums of 12.3 percent and 17.5 percent to the
volume-weighted average price of Teckay LNG’s common units over the last 60
and 180 days, respectively.

The Transaction is the result of a review by Teekay GP’s Board of Directors of
strategic alternatives available to Teekay LNG. The Conflicts Committee of Teekay
GP, comprised of independent directors and advised by its own independent legal
and financial advisors, determined that the Transaction was advisable and in the
best interests of Teekay LNG and its unitholders unaffiliated with Teekay and
unanimously approved the Transaction. In considering its recommendation, the
Conflicts Committee of Teekay GP was advised by Houlihan Lokey Capital, Inc.
Subsequently, acting upon the recommendation of the Conflicts Committee, the
Board of Directors of Teekay GP unanimously approved the Transaction and
recommended that all Teekay LNG’s common unitholders vote in favor of the
Merger Agreement on the terms presented.

“This is a transformative transaction for Teekay LNG that will enable existing
unitholders to realize an attractive valuation and immediate liquidity on closing,”
commented Mark Kremin, President and CEO of Teekay Gas Group Ltd. “Under
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Stonepeak’s ownership, we expect Teekay LNG to have improved access to
competitively priced capital for both fleet renewal and potential future growth in
the next phase of our development, which has not been available through the public
equity capital markets for many years. We are excited to partner with Stonepeak
and look forward to continuing to build our leading market positions, while
maintaining our strong focus on operational excellence. We believe that the
combination of our existing management and operations teams with Stonepeak,
which has a long track record for investing in energy infrastructure, will provide
substantial benefits to our customers, employees, joint venture partners and capital
providers in the future.”

“Stonepeak has long recognized the growing global demand for LNG and
importance of natural gas as a bridge fuel, particularly as the world continues to
shift toward cleaner sources of energy,” said James Wyper, Senior Managing
Director at Stonepeak. “Through this transaction, we have an exciting opportunity
to invest in a critical energy transition infrastructure business in the form of Teekay
LNG’s high-quality, modern fleet of vessels and stable long-term customer
contracts. We are particularly excited to partner with Teekay LNG’s best-in-class
management team to bring cheaper, cleaner, more reliable energy supply to all parts
of the world, especially in Asia where we have been active investors in the ongoing
shift to cleaner fuels and renewables.”

“Since the initial public offering in 2005, Teekay has built Teekay LNG into the
world’s third largest independent LNG carrier owner and operator, with one of the
biggest and most diversified portfolios of long-term contracts with leading players
in the LNG industry,” commented Kenneth Hvid, Teekay’s President and CEO.
“We believe this Transaction represents a unique opportunity to monetize our
position in Teekay LNG while realizing an attractive return on investment for
Teekay and for Teekay LNG common unitholders. This Transaction also provides
Teekay with greater financial flexibility to leverage its existing operating franchise
and industry-leading capabilities to pursue attractive investment opportunities in
both the shipping sector and potentially in new and adjacent markets, which we
expect to be dynamic as the world pushes for greater energy diversification.”

The Transaction has been approved by the Board of Directors of Teekay GP and
Teekay, including the unanimous approval of the Conflicts Committee of Teekay
GP, and is targeted to close by the end of 2021. The Transaction remains subject to
approval by a majority of Teekay LNG’s common unitholders at a special meeting
to be held in connection with the Transaction, and the satisfaction or waiver of
certain customary closing conditions. Teekay, which currently owns approximately
41 percent of Teekay LNG’s outstanding common units, has entered into a Voting
and Support Agreement to vote in favor of the merger.

As part of the Transaction, Teekay will transfer to Teekay LNG the ownership of
the management services companies that currently deliver the operations for
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Teekay LNG and certain of its joint ventures under existing management services
contracts.

Promptly after the completion of the Transaction, the common units of Teekay
LNG will be delisted from the New York Stock Exchange. The Series A and B
preferred units of Teekay LNG are expected to remain outstanding and continue to
trade on the New York Stock Exchange following the completion of the
Transaction.

Potential Conflicts of Interest

34. The breakdown of the benefits of the deal indicate that Teekay Corporation and
Stonepeak are the primary beneficiaries of the Proposed Transaction, not the Partnership’s public
unitholders such as Plaintiff. The Board and the Partnership’s executive officers are conflicted
because they will have secured unique benefits for themselves from the Proposed Transaction not
available to Plaintiff as a public unitholder of Teekay LNG.

35. First and foremost as indicated above the sales process was tainted by the undue
influence of Teekay Corporation, who despite owning a non-controlling interest of the Partnership,
utilized its control over Teekay GP to force a sale of the entire Partnership as a more appealing
alternative to potentially interested third parties than its own Stake Sale.

36. In addition, while the Proxy Statement provides the following information
regarding the ownership amounts of outstanding Partnership units, it fails to provide an accounting
of the consideration that insiders are set to receive as a result of said unit amounts being exchanged

for the merger consideration upon the consummation of the Proposed Transaction.

Number of
Common Units Percentage of
Beneficially Class Beneficially
Identity of Person or Group Owned Owned™

 

Beneficial Owners of 5% or More of our Common Units:

Teekay Corporation”.® 35,958,374 41.3%
FMR LLC® 6,900,830 7.93%
Cobas Asset Management 3,446,107 3.96%
All directors and executive officers as a group (12 persons) —* —_

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37. Moreover, upon the consummation of the Proposed Transaction, the Proxy
Statement indicates that each outstanding Partnership option, restricted unit, or other equity award
will be canceled and converted into the right to receive certain consideration according to the
merger agreement, but fails to provide a per individual and/or entity accounting of the

consideration which will be granted, only providing the following:

 

Number of Aggregate Value of
Unvested Restricted Units | Unvested Restricted Units
(#) (8)?
All officers of Teekay GP L.L.C., Teekay Gas Group Ltd. and
Teekay Corporation, as a group (10 persons) 243,599.97 $4,141,199.49
38. The Proxy Statement also fails to adequately disclose communications regarding

post-transaction employment during the negotiation of the underlying transaction must be
disclosed to unitholders. Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to unitholders. This information is
necessary for Plaintiff to understand potential conflicts of interest of management and the Board,
as that information provides illumination concerning motivations that would prevent fiduciaries
from acting solely in the best interests of the Partnership’s unitholders.

39. Thus, while the Proposed Transaction is not in the best interests of Teekay LNG,
Plaintiff or Partnership unitholders, it will produce lucrative benefits for the Partnership’s officers
and directors, as well as for Teekay Corporation.

The Materially Misleading and/or Incomplete Proxy Statement

40. On November 2, 2021, the Board caused to be filed with the SEC a materially
misleading and incomplete Proxy Statement that, in violation the Exchange Act, failed to provide
Plaintiff in his capacity as a Partnership unitholder with material information and/or provides
materially misleading information critical to the total mix of information available to Plaintiff

concerning the financial and procedural fairness of the Proposed Transaction.

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Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

to the Proposed Transaction

41, Specifically, the Proxy Statement fails to disclose material information concerning

the process conducted by the Partnership and the events leading up to the Proposed Transaction.

In particular, the Proxy Statement fails to disclose:

a.

Adequate information as to the influence that Teekay Corporation had over the
Teekay GP Board in the latter’s determination to agree to a sale of the entire
Partnership;

Adequate information regarding why the Teekay GP Board engaged Morgan
Stanley rather than some other financial advisor when Morgan Stanley had been
engaged to Teekay Corporation throughout the Stake Sale process;

Whether the confidentiality agreements entered into by the Partnership with
Stonepeak differed from any other unnamed confidentiality agreement entered
into between the Partnership and potentially interested third parties if any, and
if so, in what way;

All specific conditions under which any standstill provision contained in any
entered confidentiality agreement entered into between the Partnership and
potentially interested third parties throughout the sales process, including
Stonepeak, would fall away;

Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to unitholders.
Communications regarding post-transaction employment during the
negotiation of the underlying transaction must be disclosed to unitholders. This
information is necessary for unitholders to understand potential conflicts of

interest of management and the Board, as that information provides

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illumination concerning motivations that would prevent fiduciaries from acting
solely in the best interests of Plaintiff and Partnership unitholders.

Omissions and/or Material Misrepresentations Concerning Teekay LNG's Financial

Projections

42. The Proxy Statement fails to provide material information concerning financial
projections for Teekay LNG provided by Teekay LNG management and relied upon by Houlihan
Lokey and Morgan Stanley in their analyses. The Proxy Statement discloses management-
prepared financial projections for the Partnership which are materially misleading.

43. The Proxy Statement should have, but fails to provide, certain information in the
projections that Teekay LNG management provided to the Board, Houlihan Lokey, and Morgan
Stanley. Courts have uniformly stated that “projections ... are probably among the most highly-
prized disclosures by investors. Investors can come up with their own estimates of discount rates
or [] market multiples. What they cannot hope to do is replicate management’s inside view of the
company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.
Ch. 2007).

44, With regard to the Teekay LNG projections, the Proxy Statement fails to disclose
material line items for the following metrics:

a. Proportionate Economic Revenue, including all underlying necessary inputs
and assumptions, including specifically: Net Adjusted Revenues attributable to
the Partnership’s proportionate ownership, which includes the Partnership’s
wholly-owned subsidiaries, as well as its proportionate ownership interest of
the Net Adjusted Revenues for its non-wholly-owned subsidiaries and its
equity-accounted joint ventures. The specific sub-multiples for Net Adjusted
Revenues include: income from vessel operations before vessel operating
expenses, time-charter hire expenses, depreciation and amortization, general
and administrative expenses, write-down of vessels and goodwill, gain or loss

on sale of vessels, and restructuring charges and includes the excess of cash

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receipts over revenue recognized for accounting purposes on charters classified
as direct finance type leases;

Proportionate Economic Adjusted EBITDA, including all underlying necessary
inputs and assumptions, including specifically: Adjusted EBITDA attributable
to the Partnership’s proportionate ownership, including Adjusted EBITDA for
the Partnership’s wholly-owned subsidiaries, as well as its proportionate
ownership interest of the Adjusted EBITDA from non-wholly-owned
subsidiaries and its equity-accounted joint ventures. The specific sub-multiples
for Adjusted EBITDA include: net income before interest, taxes, and
depreciation and amortization and specific adjustments to exclude certain items
whose timing or amount cannot be reasonably estimated in advance or that are
not considered representative of core operating performance, including
unrealized credit loss provisions or reversals, unrealized gains or losses on non-
designated derivative instruments, write-downs of vessels, gains or losses on
sales of vessels, foreign currency exchange gains or losses, adjustments for
direct financing and sales type leases to a cash basis, and certain other income
or expenses, and excludes realized gains or losses on interest rate swaps as
management, in assessing the Partnership's performance, views these gains or
losses as an element of interest expense and realized gains or losses on
derivative instruments resulting from amendments or terminations of the
underlying instruments;

Proportionate Economic Unlevered Free Cash Flow, including all underlying
necessary inputs and assumptions, including specifically: Economic Unlevered
Free Cash Flow attributable to the Partnership’s proportionate ownership
including the Economic Unlevered Free Cash Flow for the Partnership and its
wholly-owned subsidiaries, as well as its proportionate share of the Economic

Unlevered Free Cash Flow from non-wholly-owned subsidiaries and its equity-

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accounted joint ventures. The specific sub-multiples for Economic Unlevered
Free Cash Flow include: Economic Adjusted EBITDA, plus proceeds from
sales of vessels, less cash taxes, expenditures for vessels and equipment and
drydock expenditures, and plus other changes in estimated net working capital;
and

d. Proportionate Economic Capital Expenditure, including all underlying
necessary inputs and assumptions, including specifically: Capital Expenditure
attributable to the Partnership’s proportionate ownership, including Capital
Expenditure for the Partnership’s wholly-owned subsidiaries, as well as its
proportionate ownership interest of the Capital Expenditure from non-wholly-
owned subsidiaries and its equity-accounted joint ventures. The specific sub-
multiples for Capital Expenditure include: capital expenditures for new
buildings and drydock expenditures.

45. The Proxy Statement also fails to disclose a reconciliation of all non-GAAP to
GAAP metrics utilized in the projections.

46. This information is necessary to provide Plaintiff in his capacity as a Partnership
unitholder a complete and accurate picture of the sales process and its fairness. Without this
information, Plaintiff is not fully informed as to Defendants’ actions, including those that may
have been taken in bad faith, and cannot fairly assess the process.

47. Without accurate projection data presented in the Proxy Statement, Plaintiff is
unable to properly evaluate the Partnership’s true worth, the accuracy of Houlihan Lokey’s or
Morgan Stanley’s financial analyses, or make an informed decision whether to vote in favor of the
Proposed Transaction. As such, the Board has violated the Exchange Act by failing to include

such information in the Proxy Statement.

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Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

Houlihan Lokey

48. In the Proxy Statement, Houlihan Lokey describes its fairness opinion and the
various valuation analyses performed to render such opinion. However, the descriptions fail to
include necessary underlying data, support for conclusions, or the existence of, or basis for,
underlying assumptions. Without this information, one cannot replicate the analyses, confirm the
valuations or evaluate the fairness opinions.

49, With respect to the Selected Companies Analysis, the Proxy Statement fails to
disclose the following:
a. The specific metrics for each analyzed comparable company, as well as all
requisites inputs and assumptions therein;
b. The specific inputs and assumptions used to determine the utilized selected
multiple range of 7.75x to 8.50x 2021 Proportionate Economic Adjusted
EBITDA; and

c. The specific inputs and assumptions used to determine the utilized selected
multiple range of 8.50x to 9.25x 2022 Proportionate Economic Adjusted
EBITDA; and
d. The specific inputs and assumptions used to determine the utilized selected
multiple range of 8.75x to 9.50x 2023 Proportionate Economic Adjusted
EBITDA.
50. With respect to the Selected Precedent Transaction Analysis, the Proxy Statement
fails to disclose the following:
a. The specific inputs and assumptions used to determine the utilized selected

multiple range of 8.00x to 8.50x 2021 Proportionate Economic Adjusted

EBITDA;

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Cc.

d.

The specific inputs and assumptions used to determine the utilized selected
multiple range of 8 8.50x to 9.00x 2022 Proportionate Economic Adjusted
EBITDA;

The specific date on which each precedent transaction closed; and

The value of each precedent transaction analyzed.

51. With respect to the Discounted Cash Flow Analysis, the Proxy Statement fails to

disclose the following:

a.

b.

The projected unlevered, after-tax free cash flows utilized;

The projected dividends to be received by the Company from its joint ventures
utilized;

The terminal values calculated;

The specific inputs and assumptions used to determine the utilized multiples
range for the Company’s 2025 Proportionate Economic Adjusted EBITDA and
2030 Proportionate Economic Adjusted EBITDA of 7.00x to 8.00x;

The specific inputs and assumptions used to determine the utilized range of
perpetuity growth rates to the 2025 projected dividends to be received by the
Company from its joint ventures and 2030 projected dividends to be received
by the Company from its joint ventures of 1.00% to 2.50%; and

The specific inputs and assumptions used to determine the utilized discount
rates ranging from, in the case of the unlevered after-tax free cash flows, 6.0%
— 7.0%, and, in the case of the projected dividends to be received by the

Company from its joint ventures, 10.0% - 11.0%.

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52. These disclosures are critical for Plaintiff in his capacity as a Partnership unitholder
to be able to make an informed decision on whether to seek appraisal for his units rather than
accepting the consideration proffered under the terms of the Proposed Transaction.

53. Without the omitted information identified above, Plaintiff is missing critical
information necessary to evaluate whether the proposed consideration truly maximizes unitholder
value and serves his interests. Moreover, without the key financial information and related
disclosures, Plaintiff in his capacity as a Partnership public unitholder cannot gauge the reliability
of the fairness opinion and the Board’s determination that the Proposed Transaction is in his best
interests. As such, the Board has violated the Exchange Act by failing to include such information
in the Proxy Statement.

Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

Morgan Stanley

54. In the Proxy Statement, Morgan Stanley describes its fairness opinion and the
various valuation analyses performed to render such opinion. However, the descriptions fail to
include necessary underlying data, support for conclusions, or the existence of, or basis for,
underlying assumptions. Without this information, one cannot replicate the analyses, confirm the
valuations or evaluate the fairness opinions.

55. With respect to the Publicly Traded Comparable Companies Analysis, the Proxy
Statement fails to disclose the following:
a. The specific inputs and assumptions used to determine the utilized selected
multiple ranges of:

i. AV/2021E Mgmt. Plan EBITDA of 7.5x — 8.5x;

ii. AV/2022E Mgmt. Plan EBITDA of 7.5x — 8.5x;
iii. AV/2021E Consensus EBITDA of 7.5x — 8.5x; and
iv. AV/2022E Consensus EBITDA of 7.5x — 8.5x.

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56. With respect to the Precedent Transactions Analysis, the Proxy Statement fails to
disclose the following:
a. The specific date on which each precedent transaction closed; and

b. The value of each precedent transaction analyzed.

57. With respect to the Discounted Cash Flow Analysis, the Proxy Statement fails to
disclose the following:
a. The projected unlevered, after-tax free cash flows utilized;
b. The terminal values calculated;
c. The specific inputs and assumptions used to determine the utilized terminal AV
/ NTM EBITDA exit multiples ranging from 7.5x to 8.5x;

d. The specific inputs and assumptions used to determine the utilized discount
rates range of 7.7% to 8.3%; and
e. The Partnership’s weighted average cost of capital.
58. With respect to the Target IRR-Based Ability-to-Pay Analysis, the Proxy Statement
fails to disclose the following:
a. The specific inputs and assumptions used to determine the utilized target range
of annualized internal rates of return for the financial buyer of 12.0% to 14.0%;
and
b. The specific inputs and assumptions used to determine the utilized range of
AV/LTM EBITDA exit multiples of 7.0x to 9.0x.
59. With respect to the Equity Research Analysts’ Price Targets, the Proxy Statement
fails to disclose the following:
a. The specific inputs and assumptions used to determine the utilized discount rate
of 8.8%;

b. The specific equity research analyst price targets utilized; and

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c. The identity of the analysts and/or firms which generated the utilized price
targets.

60. These disclosures are critical for Plaintiff in his capacity as a Partnership unitholder
to be able to make an informed decision on whether to seek appraisal for his units rather than
accepting the consideration proffered under the terms of the Proposed Transaction.

61. Without the omitted information identified above, Plaintiff is missing critical
information necessary to evaluate whether the proposed consideration truly maximizes unitholder
value and serves his interests. Moreover, without the key financial information and related
disclosures, Plaintiff in his capacity as a Partnership public unitholder cannot gauge the reliability
of the fairness opinion and the Board’s determination that the Proposed Transaction is in his best
interests. As such, the Board has violated the Exchange Act by failing to include such information
in the Proxy Statement

FIRST COUNT
Violations of Section 14(a) of the Exchange Act

(Against All Defendants)

 

62. Plaintiff repeats all previous allegations as if set forth in full herein.

63. | Defendants have disseminated the Proxy Statement with the intention of soliciting
unitholders, including Plaintiff, to vote in favor of the Proposed Transaction.

64. Section 14(a) of the Exchange Act requires full and fair disclosure in connection
with the Proposed Transaction. Specifically, Section 14(a) provides that:

It shall be unlawful for any person, by the use of the mails or by any means or

instrumentality of interstate commerce or of any facility of a national securities

exchange or otherwise, in contravention of such rules and regulations as the [SEC]

may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent

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or authorization in respect of any security (other than an exempted security)

registered pursuant to section 78/ of this title.

65. As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

No solicitation subject to this regulation shall be made by means of any proxy

statement, form of proxy, notice of meeting or other communication, written or

oral, containing any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading or necessary to correct any statement

in any earlier communication with respect to the solicitation of a proxy for the same

meeting or subject matter which has become false or misleading.

66. The Proxy Statement was prepared in violation of Section 14(a) because it is
materially misleading in numerous respects and omits material facts, including those set forth
above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that
the Proxy Statement is materially misleading and omits material facts that are necessary to render
them non-misleading.

67. The Individual Defendants had actual knowledge or should have known of the
misrepresentations and omissions of material facts set forth herein.

68. The Individual Defendants were at least negligent in filing a Proxy Statement that
was materially misleading and/or omitted material facts necessary to make the Proxy Statement
not misleading.

69. The misrepresentations and omissions in the Proxy Statement are material to
Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to vote his units in
favor of the Proposed Transaction on the basis of complete information if such misrepresentations

and omissions are not corrected prior to the unitholder vote regarding the Proposed Transaction.

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SECOND COUNT
Violations of Section 20(a) of the Exchange Act
(Against all Individual Defendants)

70. Plaintiff repeats all previous allegations as if set forth in full herein.

71. | The Individual Defendants were privy to non-public information concerning the
Partnership and its business and operations via access to internal corporate documents,
conversations and connections with other corporate officers and employees, attendance at
management and Board meetings and committees thereof and via reports and other information
provided to them in connection therewith. Because of their possession of such information, the
Individual Defendants knew or should have known that the Proxy Statement was materially
misleading to Plaintiff in his capacity as a Partnership unitholder.

72. The Individual Defendants were involved in drafting, producing, reviewing and/or
disseminating the materially false and misleading statements complained of herein. The Individual
Defendants were aware or should have been aware that materially false and misleading statements
were being issued by the Partnership in the Proxy Statement and nevertheless approved, ratified
and/or failed to correct those statements, in violation of federal securities laws. The Individual
Defendants were able to, and did, control the contents of the Proxy Statement. The Individual
Defendants were provided with copies of, reviewed and approved, and/or signed the Proxy
Statement before its issuance and had the ability or opportunity to prevent its issuance or to cause
it to be corrected.

73. The Individual Defendants also were able to, and did, directly or indirectly, control
the conduct of Teekay LNG’s business, the information contained in its filings with the SEC, and
its public statements. Because of their positions and access to material non-public information
available to them but not the public, the Individual Defendants knew or should have known that
the misrepresentations specified herein had not been properly disclosed to and were being

concealed from Plaintiff and Partnership, and that the Proxy Statement was misleading. As a

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result, the Individual Defendants are responsible for the accuracy of the Proxy Statement and are
therefore responsible and liable for the misrepresentations contained herein.

74. The Individual Defendants acted as controlling persons of Teekay LNG within the
meaning of Section 20(a) of the Exchange Act. By reason of their position with the Partnership,
the Individual Defendants had the power and authority to cause Teekay LNG to engage in the
wrongful conduct complained of herein. The Individual Defendants controlled Teekay LNG and
all of its employees. As alleged above, Teekay LNG is a primary violator of Section 14 of the
Exchange Act and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are
liable pursuant to section 20(a) of the Exchange Act.

WHEREFORE, Plaintiff demands injunctive relief, in his favor and against the Defendants,
as follows:

A. Enjoining the Proposed Transaction;

B. Directing the Individual Defendants to comply with the Exchange Act to
disseminate a Proxy Statement that does not contain any untrue statements of material fact
and that states all material facts required in it or necessary to make the statements contained
therein not misleading;

C. Awarding Plaintiff the costs of this action, including reasonable allowance for
Plaintiff’s attorneys’ and experts’ fees; and

D. Granting such other and further relief as this Court may deem just and proper.

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DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury on all issues which can be heard by a jury.

Dated: November 18, 2021

BRODSKY SMITH

Cee —

Evan J. Smith

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Counsel for Plaintiff

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